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14                                UNITED STATES DISTRICT COURT
15                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
16                                      SAN FRANCISCO DIVISION
17
                                                    Case No. 3:18-cv-02791-EMC
18   23ANDME, INC.,
19                                                   DEFENDANTS’ REQUEST FOR
                          Plaintiff,                 JUDICIAL NOTICE IN SUPPORT OF
20          v.                                       MOTION TO DISMISS

21   ANCESTRY.COM DNA, LLC,                          Hearing Date: August 16, 2018
     ANCESTRY.COM OPERATIONS INC., and
22   ANCESTRY.COM LLC,                               Hearing Time: 1:30 p.m.
23                        Defendants.                Courtroom: 5 - 17th Floor
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1           Pursuant to Federal Rule of Evidence 201, Defendants Ancestry.com DNA, LLC,

2    Ancestry.com Operations Inc., and Ancestry.com LLC (“Ancestry”) respectfully request that this

3    Court take judicial notice of the following exhibits in support of their Motion to Dismiss, attached as

4    Exhibits A-K to the Declaration of Mark Selwyn:

5       •   Exhibit A: A true and correct copy of the Patent and Trademark Office’s (“PTO”) Patent

6           Examiner’s Office Action issuing a non-final rejection of the patent application for U.S.

7           Patent No. 8,463,554 (“’554 patent’”), dated May 31, 2012.

8       •   Exhibit B: A true and correct copy of the ’554 patent applicants’ amendments to the pending

9           claims, submitted on September 18, 2012.

10      •   Exhibit C: A true and correct copy of the ’554 patent applicants’ Argument/Remarks Made

11          In Amendment, dated September 18, 2012.

12      •   Exhibit D: A true and correct copy of the Examiner’s Notice of Allowance for the ’554

13          patent, dated February 25, 2013.

14      •   Exhibit E: A true and correct copy of the ’554 patent applicants’ Amendment after Notice of

15          Allowance, dated April 26, 2013.

16      •   Exhibit F: A true and correct copy of U.S. Patent Application No. 12/774,546 (“’546

17          application”), filed on May 5, 2010 and claiming priority to the ’554 patent.

18      •   Exhibit G: A true and correct copy of U.S. Patent Application No. 13/871,744 (“’744

19          application”), filed on April 26, 2013 and claiming priority to the ’554 patent.

20      •   Exhibit H: A true and correct copy of U.S. Patent Application No. 15/264,493, filed on

21          September 13, 2016 and claiming priority to the ’554 patent.

22      •   Exhibit I: A true and correct copy of U.S. Patent Application No.15/664,619, filed on July

23          31, 2017 and claiming priority to the ’554 patent.

24      •   Exhibit J: A true and correct copy of the Examiner’s Office Action issuing a non-final

25          rejection of the claims of the ’546 application, dated February 1, 2017.

26      •   Exhibit K: A true and correct copy of the Examiner’s Office Action issuing a non-final

27          rejection of the claims of the ’744 application, dated February 18, 2016.

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1           Federal Rule of Evidence 201(b) provides that a court may take judicial notice of a fact that is

2    “not subject to reasonable dispute” in that it “can be accurately and readily determined from sources

3    whose accuracy cannot reasonably be questioned.” A court may consider “matters of judicial notice

4    when determining whether the allegations of the complaint state a claim upon which relief can be

5    granted.” O’Connor v. Uber Techs., 58 F. Supp. 3d 989, 995 (N.D. Cal. 2014) (Chen, J.).

6           Courts have routinely recognized that it is “appropriate to take judicial notice of PTO

7    correspondence which is part of the public record.” Hoganas AB v. Dresser Indus., Inc., 9 F.3d 948,

8    954 n.27 (Fed. Cir. 1993); see also, e.g., Coinstar, Inc. v. Coinbank Automated Sys., Inc., 998 F.

9    Supp. 1109, 1114 (N.D. Cal. 1998) (taking judicial notice of “documents from the file history” of a

10   patent and explaining that “[j]udicial notice of matters of public record, including administrative

11   records and procedures, are appropriate pursuant to Rule 201”). Moreover, courts have taken judicial

12   notice of a patent’s prosecution history in cases like this one, where a defendant challenges the

13   sufficiency of the pleadings on grounds that the patent-in-suit fails the test for patent eligibility under

14   35 U.S.C. § 101. See, e.g., Iconfind, Inc. v. Google, Inc., No. 2:11-CV-0319, 2012 WL 158366, at *1

15   (E.D. Cal. 2012) (taking judicial notice of prosecution history in the context of a 35 U.S.C. § 101

16   challenge); Xlear, Inc. v. STS Health LLC, No. 2:14-CV-00806, 2015 WL 8967574, at *2-4 (D. Utah

17   Dec. 15, 2015) (same); see also Eakin Enters., Inc. v. Specialty Sales LLC, No. 1:11-CV-02008, 2012

18   WL 2445154, at *3-4 (E.D. Cal. 2012) (taking judicial notice of prosecution history in the context of

19   a 12(b)(6) challenge to the sufficiency of patent infringement allegations).

20          Here, all exhibits listed above are part of the prosecution history for either the ’554 patent that

21   23andMe asserts Ancestry infringed, or several closely-related patent applications. Accordingly,

22   because the exhibits are undisputable “public record[s] of proceedings in the Patent and Trademark

23   Office,” this Court can and should take judicial notice of them. See, e.g., Johnstech Int’l Corp. v. JF

24   Microtechnology Sdn Bhd, No. 14-cv-02864, 2016 WL 631936, at *6 n.3 (N.D. Cal. Feb. 17, 2016)

25   (Donato, J.).

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1                                                  CONCLUSION

2           For the foregoing reasons, Ancestry respectfully requests that this Court take judicial notice of

3    Exhibits A-K attached to the Declaration of Mark Selwyn in Support of Defendants’ Motion to

4    Dismiss Plaintiff’s Complaint.

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     DATED: June 29, 2018                                   Respectfully submitted,
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2                                               Ancestry.com Operations Inc., and
3                                               Ancestry.com LLC

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           Case 3:18-cv-02791-EMC Document 32 Filed 06/29/18 Page 6 of 6


1                                       ATTORNEY ATTESTATION

2    I, Mark D. Selwyn, am the ECF User whose ID and password are being used to file this document. In
3    compliance with N.D. Cal. Civil L.R. 5- 1(i)(3), I hereby attest that concurrence in the filing of the
     document has been obtained from each of the other signatories.
4
                                          By: /s/ Mark D. Selwyn
5                                               Mark D. Selwyn
6

7
                                          CERTIFICATE OF SERVICE
8

9    I hereby certify that on June 29, 2018, I electronically filed the above document with the
     Clerk of the Court using CM/ECF which will send electronic notification of such filing to all
10   registered counsel.
                                           By: /s/ Mark D. Selwyn
11
                                                  Mark D. Selwyn
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